               Case 19-04236-LA7                    Filed 07/18/19             Entered 07/18/19 13:18:48                    Doc 1         Pg. 1 of 81


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

Case number (if known)                                                          Chapter you are filing under:

                                                                                Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an amended
                                                                                                                                     filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Kenneth                                                          Kara
     your government-issued          First name                                                       First name
     picture identification (for
     example, your driver's          Christopher                                                      Kristen
     license or passport).           Middle name                                                      Middle name
     Bring your picture
     identification to your meeting
                                    Manqueros                                                         Manqueros
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                          Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-5103                                                      xxx-xx-5732
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 1
              Case 19-04236-LA7                 Filed 07/18/19              Entered 07/18/19 13:18:48                  Doc 1         Pg. 2 of 81

Debtor 1   Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2   Kristen                                                                                     Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 14566 Via Bergamo
                                 San Diego, CA 92127-3829
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 San Diego
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
              Case 19-04236-LA7                 Filed 07/18/19               Entered 07/18/19 13:18:48                    Doc 1         Pg. 3 of 81

Debtor 1    Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2    Kristen                                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
               Case 19-04236-LA7                   Filed 07/18/19             Entered 07/18/19 13:18:48                      Doc 1       Pg. 4 of 81

Debtor 1    Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2    Kristen                                                                                           Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
               Case 19-04236-LA7                   Filed 07/18/19             Entered 07/18/19 13:18:48                   Doc 1         Pg. 5 of 81

Debtor 1    Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2    Kristen                                                                                       Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
    briefing about credit
                                      Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                      Icounseling
                                                                                                          received a briefing from an approved credit
                                                                                                                     agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
              Case 19-04236-LA7                   Filed 07/18/19             Entered 07/18/19 13:18:48                       Doc 1        Pg. 6 of 81

Debtor 1    Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2    Kristen                                                                                          Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”

                                             No. Go to line 16b.
                                              Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                             Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                           50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be?                                                                              $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Kenneth Christopher Manqueros                                  /s/ Kara Kristen Manqueros
                                   Kenneth Christopher Manqueros                                      Kara Kristen Manqueros
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on      July 18, 2019                                     Executed on      July 18, 2019
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
              Case 19-04236-LA7                   Filed 07/18/19           Entered 07/18/19 13:18:48                        Doc 1        Pg. 7 of 81

Debtor 1   Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2   Kristen                                                                                           Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Ronald E. Stadtmueller                                            Date         July 18, 2019
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Ronald E. Stadtmueller
                                Printed name

                                The Bankruptcy Professionals
                                Firm name


                                10755 Scripps Poway Pkwy # 370
                                San Diego, CA 92131-3924
                                Number, Street, City, State & ZIP Code

                                Contact phone    (858) 564-9310                                 Email address         ronstadtmueller@aol.com
                                140720
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
                Case 19-04236-LA7                             Filed 07/18/19                Entered 07/18/19 13:18:48                   Doc 1           Pg. 8 of 81

               Fill in this information to identify your case and this filing:

 Debtor 1                    Kenneth Christopher Manqueros
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Kara Kristen Manqueros
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        14566 Via Bergamo
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        San Diego                         CA        92127-3829                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                            $1,175,000.00               $1,175,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              JTWROS
                                                                                   Debtor 2 only
        County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                        $1,175,000.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                       Filed 07/18/19                  Entered 07/18/19 13:18:48                    Doc 1        Pg. 9 of 81

 Debtor 1         Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2         Kristen                                                                                      Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:      Mercedes-Benz                           Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     E320 Sedan                               Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      1998                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                               Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                                $1,564.00                 $1,564.00
                                                               (see instructions)



  3.2    Make:      Lincoln                                 Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:     Navigator 2WD                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:      2004                                     Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                               Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                                $3,044.00                 $3,044.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                 $4,608.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   misc. household goods - no one item valued in excess of $725                                                             $5,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   misc. electronics - no one item valued in excess of $725                                                                 $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....


Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                                   Filed 07/18/19                        Entered 07/18/19 13:18:48          Doc 1      Pg. 10 of 81

 Debtor 1          Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2          Kristen                                                                                                 Case number (if known)

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
    Yes.        Describe.....
                                            sporting and hobby equipment                                                                                           $250.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes.        Describe.....
                                            20 gauge Browning shotgun                                                                                              $600.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            clothing                                                                                                             $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.        Describe.....
                                            misc. jewelry                                                                                                        $1,500.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
    Yes.        Describe.....
                                            Labrador dog - sentimental value only                                                                                unknown


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                            $9,350.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              cash on hand
                                                                                                                              less than                            $100.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:

Official Form 106A/B                                                                     Schedule A/B: Property                                                        page 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                         Filed 07/18/19               Entered 07/18/19 13:18:48                   Doc 1      Pg. 11 of 81

 Debtor 1        Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2        Kristen                                                                                        Case number (if known)

                                                                              Wells Fargo #5433 - balance on hand less
                                        17.1.                                 than                                                                  $500.00

                                                                              Point Lome FCU checking and savings -
                                        17.2.                                 balance on hand less than                                             $500.00

                                                                              Mission FCU #2226 - balance on hand less
                                        17.3.                                 than                                                                  $500.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                      Institution name:
                                                                              fidelity                                                              $139.00

                                                                              Realology                                                                 $96.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes.      Give specific information about them...


Official Form 106A/B                                                   Schedule A/B: Property                                                            page 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19        Entered 07/18/19 13:18:48                      Doc 1         Pg. 12 of 81

 Debtor 1       Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2       Kristen                                                                                 Case number (if known)

                                            domain names Trucalma.com and Truecalma.com - no current
                                            known value                                                                                               unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......
                                                       California tax credit 2017 $2500, refund
                                                           2018 $4429                                                                                 $6,929.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                          Beneficiary:                              Surrender or refund
                                                                                                                                         value:
                                        Protective surrender value $4084                                                                              $4,084.00

                                        National Life Group - surrender value
                                        $212                                                                                                            $212.00

                                        Universal Life - surrender value $4661                                                                        $4,661.00

                                        term life insuruance - no present value                                                                       unknown


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes.     Describe each claim.........
                                                    retaliation/whistleblower claim against former employer
                                                    Equity title-Realogy Corp.                                                                        unknown


Official Form 106A/B                                             Schedule A/B: Property                                                                     page 5
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                           Filed 07/18/19                  Entered 07/18/19 13:18:48                               Doc 1       Pg. 13 of 81

 Debtor 1        Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2        Kristen                                                                                                    Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes.      Describe each claim.........
                                                        potantial $15,000 due from sale of debtors interest in Coker
                                                        Butte, LLC                                                                                                      unknown


35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................           $17,721.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
   Yes.     Go to line 38.


                                                                                                                                                            Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

38. Accounts receivable or commissions you already earned
    No
     Yes.     Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.     Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.     Describe.....


41. Inventory
    No
     Yes.     Describe.....


42. Interests in partnerships or joint ventures
    No
     Yes.     Give specific information about them...................
                                      Name of entity:                                                                         % of ownership:


43. Customer lists, mailing lists, or other compilations
   No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

              No
               Yes.     Describe.....




Official Form 106A/B                                                        Schedule A/B: Property                                                                            page 6
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                               Filed 07/18/19                     Entered 07/18/19 13:18:48                                        Doc 1   Pg. 14 of 81

 Debtor 1         Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2         Kristen                                                                                                               Case number (if known)

44. Any business-related property you did not already list
    No
    Yes. Give specific information.........
                                               Country Club membership - gross value $56k, but takes 2 plus years
                                               to sell and must approx. $20k per year in dues and minimum service
                                               fess to maintain                                                                                                                  $16,000.00


                                               tools of trade - photography equipment                                                                                             $5,000.00



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
     Part 5. Write that number here.....................................................................................................................                      $21,000.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $1,175,000.00
 56. Part 2: Total vehicles, line 5                                                                            $4,608.00
 57. Part 3: Total personal and household items, line 15                                                       $9,350.00
 58. Part 4: Total financial assets, line 36                                                                  $17,721.00
 59. Part 5: Total business-related property, line 45                                                         $21,000.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $52,679.00              Copy personal property total               $52,679.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $1,227,679.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 7
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                    Filed 07/18/19               Entered 07/18/19 13:18:48                         Doc 1      Pg. 15 of 81

              Fill in this information to identify your case:

 Debtor 1                 Kenneth Christopher Manqueros
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
                                                                                                                                   CCCP § 703.140(b)(1)
      14566 Via Bergamo
                                                                $1,175,000.00                                           $1.00
      San Diego CA, 92127-3829                                                               100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit

      Mercedes-Benz                                                                                                                CCCP § 703.140(b)(2)
      E320 Sedan
                                                                      $1,564.00                                    $1,564.00
      1998                                                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                             any applicable statutory limit

      Lincoln                                                                                                                      CCCP § 703.140(b)(2)
      Navigator 2WD
                                                                      $3,044.00                                    $3,044.00
      2004                                                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                             any applicable statutory limit

      misc. household goods - no one                                                                                               CCCP § 703.140(b)(3)
      item valued in excess of $725
                                                                      $5,000.00                                    $5,000.00
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      misc. electronics - no one item                                                                                              CCCP § 703.140(b)(3)
      valued in excess of $725
                                                                      $1,000.00                                    $1,000.00
      Line from Schedule A/B: 7.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                             page 1 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                     Doc 1      Pg. 16 of 81

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     sporting and hobby equipment                                                                                            CCCP § 703.140(b)(3)
     Line from Schedule A/B: 9.1
                                                                      $250.00                                  $250.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     20 gauge Browning shotgun                                                                                               CCCP § 703.140(b)(3)
     Line from Schedule A/B: 10.1
                                                                      $600.00                                  $600.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     clothing                                                                                                                CCCP § 703.140(b)(3)
     Line from Schedule A/B: 11.1
                                                                   $1,000.00                                 $1,000.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     misc. jewelry                                                                                                           CCCP § 703.140(b)(4)
     Line from Schedule A/B: 12.1
                                                                   $1,500.00                                 $1,500.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     cash on hand less than                                                                                                  CCCP § 703.140(b)(5)
     Line from Schedule A/B: 16.1
                                                                      $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Wells Fargo #5433 - balance on hand                                                                                     CCCP § 703.140(b)(5)
     less than
                                                                      $500.00                                  $500.00
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Point Lome FCU checking and                                                                                             CCCP § 703.140(b)(5)
     savings - balance on hand less than
                                                                      $500.00                                  $500.00
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Mission FCU #2226 - balance on                                                                                          CCCP § 703.140(b)(5)
     hand less than
                                                                      $500.00                                  $450.00
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Mission FCU #2226 - balance on                                                                                          CCCP § 703.140(b)(5)
     hand less than
                                                                      $500.00                                   $50.00
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     fidelity                                                                                                                CCCP § 703.140(b)(10)(E)
     Line from Schedule A/B: 21.1
                                                                      $139.00                                  $139.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Realology                                                                                                               CCCP § 703.140(b)(10)(E)
     Line from Schedule A/B: 21.2
                                                                       $96.00                                   $96.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     California tax credit 2017 $2500,                                                                                       CCCP § 703.140(b)(5)
     refund 2018 $4429
                                                                   $6,929.00                                 $6,929.00
     Line from Schedule A/B: 28.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                     Doc 1      Pg. 17 of 81

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Protective surrender value $4084                                                                                        CCCP § 703.140(b)(8)
     Line from Schedule A/B: 31.1
                                                                   $4,084.00                                 $4,084.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     National Life Group - surrender                                                                                         CCCP § 703.140(b)(8)
     value $212
                                                                      $212.00                                  $212.00
     Line from Schedule A/B: 31.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Universal Life - surrender value                                                                                        CCCP § 703.140(b)(8)
     $4661
                                                                   $4,661.00                                 $4,661.00
     Line from Schedule A/B: 31.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     potantial $15,000 due from sale of                                                                                      CCCP § 703.140(b)(5)
     debtors interest in Coker Butte, LLC
                                                                   Unknown                                 $15,000.00
     Line from Schedule A/B: 34.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Country Club membership - gross                                                                                         CCCP § 703.140(b)(5)
     value $56k, but takes 2 plus years to
                                                                  $16,000.00                                 $4,821.00
     sell and must approx. $20k per year                                               100% of fair market value, up to
     in dues and minimum service fess                                                   any applicable statutory limit
     to maintain
     Line from Schedule A/B: 44.1

     Country Club membership - gross                                                                                         CCCP § 703.140(b)(6)
     value $56k, but takes 2 plus years to
                                                                  $16,000.00                                 $3,725.00
     sell and must approx. $20k per year                                               100% of fair market value, up to
     in dues and minimum service fess                                                   any applicable statutory limit
     to maintain
     Line from Schedule A/B: 44.1

     tools of trade - photography                                                                                            CCCP § 703.140(b)(6)
     equipment
                                                                   $5,000.00                                 $5,000.00
     Line from Schedule A/B: 44.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 3 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                    Filed 07/18/19               Entered 07/18/19 13:18:48                         Doc 1      Pg. 18 of 81


 Fill in this information to identify your case:

 Debtor 1
                             First Name                     Middle Name                     Last Name

 Debtor 2                    Kara Kristen Manqueros
 (Spouse if, filing)         First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                         
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                             page 4 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                     Filed 07/18/19                Entered 07/18/19 13:18:48                           Doc 1          Pg. 19 of 81

              Fill in this information to identify your case:

 Debtor 1                   Kenneth Christopher Manqueros
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Kara Kristen Manqueros
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A                Column B                   Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As      Amount of claim         Value of collateral        Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                   Do not deduct the       that supports this         portion
                                                                                                               value of collateral.    claim                      If any
         Specialized Loan
 2.1                                              Describe the property that secures the claim:               $1,101,990.00              $1,175,000.00                         $0.00
         Servicing/Sls
         Creditor's Name
                                                  14566 Via Bergamo, San Diego, CA
         Attn: Bankruptcy Dept                    92127-3829
         8742 Lucent Blvd Ste 300                 As of the date you file, the claim is: Check all that
         Highlands Ranch, CO                      apply.
         80129-2386                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
 Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred          2007-04-24                Last 4 digits of account number        1725


 Add the dollar value of your entries in Column A on this page. Write that number here:                               $1,101,990.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                              $1,101,990.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Specialized Loan Servi
          8742 Lucent Blvd                                                                         Last 4 digits of account number    1725
          Highlands Ranch, CO 80129-2302




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                              page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                      Filed 07/18/19                 Entered 07/18/19 13:18:48                           Doc 1          Pg. 20 of 81

      Fill in this information to identify your case:

 Debtor 1                   Kenneth Christopher Manqueros
                            First Name                       Middle Name                       Last Name

 Debtor 2                   Kara Kristen Manqueros
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Internal Revenue Service                             Last 4 digits of account number                           $19,923.00          $19,923.00                     $0.00
              Priority Creditor's Name
              Central Insolvency Dept.                             When was the debt incurred?             2018
              PO Box 21126
              Philadelphia, PA 19114-0326
              Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com                                                           G18046
            Case 19-04236-LA7                        Filed 07/18/19                Entered 07/18/19 13:18:48                           Doc 1           Pg. 21 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                                    Case number (if known)

 2.2        Internal Revenue Service                              Last 4 digits of account number                           $2,700.00              $2,700.00                   $0.00
            Priority Creditor's Name
            Central Insolvency Dept.                              When was the debt incurred?           2017
            PO Box 21126
            Philadelphia, PA 19114-0326
            Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes

            SAN DIEGO
 2.3        COUNTY/RECORDER OF DEEDS                              Last 4 digits of account number       3112                $1,115.00              $1,115.00                   $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?

            Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                          Disputed - believed released


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 22 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.1      Afc Urgent Care of Bonita                             Last 4 digits of account number       3230                                               $97.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical services


 4.2      Amex                                                  Last 4 digits of account number       4423                                           $11,650.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                             When was the debt incurred?           1994-2018
          PO Box 981540
          El Paso, TX 79998-1540
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      credit card


 4.3      Amex                                                  Last 4 digits of account number       6953                                            $6,364.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                             When was the debt incurred?           2015-2018
          PO Box 981540
          El Paso, TX 79998-1540
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 23 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.4      Anthony Knight                                        Last 4 digits of account number                                                       $9,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          10340 Brookhollow Cir
          Highlands Ranch, CO 80129-1800
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


 4.5      Arroyo Crossroads Center I, LLC                       Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o REMARC Management                                 When was the debt incurred?           pre 2018
          24800 Chrisanta Dr Ste 130
          Mission Viejo, CA 92691-4834
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.6      Assly Sayyar, Attorney At Law                         Last 4 digits of account number                                                       $5,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          2348 Foothill Dr
          Vista, CA 92084-5807
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 24 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.7      ATT MOBILITY                                          Last 4 digits of account number       0879                                            $1,493.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2019
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      services


 4.8      Barbara Gentzkow                                      Last 4 digits of account number                                                     $300,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          5858 Saratoga Corte # 8616
          Rancho Santa Fe, CA 92067-9555
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      guarantee of business debt


 4.9      Big Bear Supermarket #3                               Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Golden Eagle Management                           When was the debt incurred?           pre 2018
          2775 Via de la Valle Ste 200
          Del Mar, CA 92014-1920
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 25 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.10     Bryan and Sharon Faith Trust                          Last 4 digits of account number                                                      $11,500.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          PO Box 3467
          Rancho Santa Fe, CA 92067-3467
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


 4.11     Cal Pacific Investments, LP                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          131 E Main St Ste 202
          El Cajon, CA 92020-3976
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.12     Capital One                                           Last 4 digits of account number       6177                                           $24,367.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2016-2018
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 26 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.13     Chase Auto Finance                                    Last 4 digits of account number                                                      $11,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          PO Box 901076
          Ft Worth, TX 76101-2076
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      auto deficiency


 4.14     Crunch Franchising LLC                                Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Attn: Mike Blouin                                     When was the debt incurred?
          1 Harbour Pl # 320
          Portsmouth, NH 03801-3873
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      guarantee of business debt


 4.15     CT Corporation                                        Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          PO Box 4349
          Carol Stream, IL 60197-4349
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 27 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.16     Donald Mackay                                         Last 4 digits of account number       0MAP                                          $125,000.00
          Nonpriority Creditor's Name
          c/o Morgan & Morgan, PA                               When was the debt incurred?
          515 N Flagler Dr Ste 2125
          West Palm Beach, FL 33401-4337
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.17     EDD/ State of California                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Taxpayer Assistance Center                            When was the debt incurred?
          PO Box 826880
          Sacramento, CA 94280-0001
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


          Frazee Mission Valley Properties,
 4.18     LTD                                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          Attn: Nicholas Frazee                                 When was the debt incurred?           pre 2018
          1005 Rosecrans St Ste 202
          San Diego, CA 92106-3007
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 8 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 28 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.19     Frazee Oceanside Properties                           Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Frazee Enterprises, Attn: Nick                    When was the debt incurred?           pre 2018
          Fraze
          1005 Rosecrans St Ste 202
          San Diego, CA 92106-3007
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


          Golden Eagle Real Estate
 4.20     Investment LP                                         Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
          c/o Golden Eagle Management                           When was the debt incurred?           pre 2018
          2775 Via de la Valle Ste 200
          Del Mar, CA 92014-1920
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.21     HOA                                                   Last 4 digits of account number                                                       $3,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-2019
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      association arrears




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 29 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.22     Jennifer Levine                                       Last 4 digits of account number                                                       $1,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          PO Box 90
          Rancho Santa Fe, CA 92067-0090
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business loan


 4.23     Josephine Manqueros                                   Last 4 digits of account number                                                       $5,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          2071 W Elberon St
          Rancho Palos Verdes, CA
          90275-1307
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


          Kalon Construction & Rafael
 4.24     Martinez                                              Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          5545 Woodruff Ave # 105
          Lakewood, CA 90713-1534
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 10 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 30 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.25     Lisa Rehrer                                           Last 4 digits of account number                                                       $4,300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          14788 Valle del Sur Ct
          San Diego, CA 92127-3726
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


 4.26     Marview Holdings                                      Last 4 digits of account number                                                     $450,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          201 S Rios Ave
          Solana Beach, CA 92075-1903
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      guarantee of business debt


 4.27     Md Today Urgent Care                                  Last 4 digits of account number       8625                                              $140.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical services




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 11 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 31 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

          Michael Do, Adam Loew & Stephen
 4.28     Loew                                                  Last 4 digits of account number       FRCT                                            unknown
          Nonpriority Creditor's Name
          c/o Frederic G. Ludwig, III                           When was the debt incurred?
          12463 Rancho Bernardo Rd # 532
          San Diego, CA 92128-2143
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.29     Michael Galloway                                      Last 4 digits of account number                                                      $10,400.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          14788 Valle del Sur Ct
          San Diego, CA 92127-3726
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


 4.30     Nordstrom FSB                                         Last 4 digits of account number       6077                                            $3,934.00
          Nonpriority Creditor's Name
          ATTN: Bankruptcy                                      When was the debt incurred?           2005-2018
          PO Box 6555
          Englewood, CO 80155-6555
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 32 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.31     Omninet Serra Mesa LP                                 Last 4 digits of account number                                                        unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          9420 Wilshire Blvd Ste 400
          Beverly Hills, CA 90212-3151
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.32     Paul Latchford                                        Last 4 digits of account number       BCCT                                          $110,000.00
          Nonpriority Creditor's Name
          c/o Miltner & Meneck, APC                             When was the debt incurred?
          402 W Broadway Ste 800
          San Diego, CA 92101-8506
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business lawsuit


 4.33     PROXIMA 701, LLC                                      Last 4 digits of account number       BCCT                                         $1,328,588.00
          Nonpriority Creditor's Name
          c/o Aleen Matkins Leck Gamble                         When was the debt incurred?
          Mallory &
          600 W Broadway Fl 27
          San Diego, CA 92101-3311
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
          Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business lawsuit




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 13 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 33 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.34     Robert James Shippee                                  Last 4 digits of account number                                                      $12,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          15383 Lake Rd 2
          Gardner, KS 66030
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


 4.35     RSR Holdings, LLC                                     Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          610 W Ash St Ste 1503
          San Diego, CA 92101-3350
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.36     Sally and Gordon Rycroft                              Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          8941 Rivers Edge Dr
          Las Vegas, NV 89117-5425
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 14 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 34 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.37     Scripps Coastal Medical Center                        Last 4 digits of account number       9502                                              $545.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical services


 4.38     Scripps Medical Foundation                            Last 4 digits of account number       9501                                              $130.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical


 4.39     Scrippshealth-Green                                   Last 4 digits of account number       2301                                               $83.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 15 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 35 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.40     Scudi and Ayers LLP                                   Last 4 digits of account number                                                       $2,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          5440 Morehouse Dr Ste 4400
          San Diego, CA 92121-6723
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.41     Signature Analytics                                   Last 4 digits of account number                                                     $250,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          1501 Quail St Ste 100
          Newport Beach, CA 92660-2797
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt


 4.42     SVAP II OCEANSIDE TC, LLC                             Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          340 Royal Poinciana Way Ste 316
          Palm Beach, FL 33480-4096
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      business debt




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 16 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 36 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.43     Synchrony Bank Huppins                                Last 4 digits of account number       2688                                            $3,392.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2019
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      credit card


 4.44     Tom Stannard                                          Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2018
          1580 Union St Unit 203
          San Diego, CA 92101-3058
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      unsecured business loan


 4.45     U.S. Bank N.A.                                        Last 4 digits of account number       4104                                           $11,050.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           pre 2019
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 17 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19             Entered 07/18/19 13:18:48                        Doc 1         Pg. 37 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                              Case number (if known)

 4.46     UFC Gym Franchising                                   Last 4 digits of account number                                                       unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1501 Quail St Ste 100
          Newport Beach, CA 92660-2797
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                        Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      guarantee of business debt


 4.47     US Bank                                               Last 4 digits of account number       1710                                            $3,458.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2015-2018
          PO Box 5229
          Cincinnati, OH 45201-5229
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.48     US Bank/Rms Cc                                        Last 4 digits of account number       3174                                            $2,471.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2016-2018
          PO Box 5229
          Cincinnati, OH 45201-5229
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 18 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19               Entered 07/18/19 13:18:48                            Doc 1     Pg. 38 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                                  Case number (if known)

 4.49      Waxie Sanitary Supply                                  Last 4 digits of account number                                                            unknown
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           PO Box 23506
           San Diego, CA 92193-3506
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                         Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       guarantee of business debt


 4.50      Wells Fargo Advantage                                  Last 4 digits of account number         1028                                              $10,312.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                       When was the debt incurred?             2016-2018
           PO Box 10438
           Des Moines, IA 50306-0438
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                         Contingent
           Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify       Revolving account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Amex                                                       Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 981537                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-1537
                                                            Last 4 digits of account number                    4423
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Amex                                                       Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 981537                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-1537
                                                            Last 4 digits of account number                    6953
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 California Business Bu                                     Line 4.37 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1711 S Mountain Ave                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Monrovia, CA 91016-4256
                                                            Last 4 digits of account number                    9502
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?



Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 19 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19              Entered 07/18/19 13:18:48                           Doc 1          Pg. 39 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                                Case number (if known)

 California Business Bu                                     Line 4.38 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1711 S Mountain Ave                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Monrovia, CA 91016-4256
                                                            Last 4 digits of account number                  9501
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 California Business Bu                                     Line 4.39 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1711 S Mountain Ave                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Monrovia, CA 91016-4256
                                                            Last 4 digits of account number                  2301
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA N                                     Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 30281                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130-0281
                                                            Last 4 digits of account number                  6177
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Creditors Collection S                                     Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Roanoke, VA 24018                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Last 4 digits of account number                  8625
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Diversified Consultant                                     Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 10550 Deerwood Park Blvd                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256-0596
                                                            Last 4 digits of account number                  0879
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Lvnv Funding LLC                                           Line 4.45 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Greenville, SC 29601                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Last 4 digits of account number                  4104
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Lvnv Funding LLC                                           Line 4.43 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Greenville, SC 29601                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Last 4 digits of account number                  2688
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Marc W. thomas Esq.                                        Line 4.33 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2552 Walnut Ave Ste 100                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Tustin, CA 92780-6984
                                                            Last 4 digits of account number                  BCCT
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Merchants Credit Guide                                     Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 223 W Jackson Blvd                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60606-6908
                                                            Last 4 digits of account number                  3230
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Nordstrom/Td Bank USA                                      Line 4.30 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 13531 E Caley Ave                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Englewood, CO 80111-6504
                                                            Last 4 digits of account number                  6077
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 State of California                                        Line 2.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Last 4 digits of account number                  3112
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank                                                    Line 4.47 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Oshkosh, WI 54901                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Last 4 digits of account number                  1710
Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 20 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                        Filed 07/18/19               Entered 07/18/19 13:18:48                          Doc 1         Pg. 40 of 81

 Debtor 1 Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2 Kara Kristen                                                                                    Case number (if known)


 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bk Rms Cc                                                Line 4.48 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Saint Louis, MO 63101                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number                      3174
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Wf Bank NA                                                  Line 4.50 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 14517                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50306-3517
                                                             Last 4 digits of account number                      1028

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.      $                  23,738.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                  23,738.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                  $               3,027,274.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $               3,027,274.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 21 of 21
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                      Filed 07/18/19        Entered 07/18/19 13:18:48                   Doc 1         Pg. 41 of 81

              Fill in this information to identify your case:

 Debtor 1                 Kenneth Christopher Manqueros
                          First Name                         Middle Name           Last Name

 Debtor 2                 Kara Kristen Manqueros
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Chase Card Services                                                       Installment account opened 6/28/2015
              Attn: Bankruptcy                                                           Credit Limit: $27,372.00, Remaining Balance: $2,219.00
              PO Box 15298
              Wilmington, DE 19850-5298

     2.2      Firestone Financial                                                       busness equipmen tlease - approx. balance $2 million
              117 Kendrick St
              Needham, MA 02494-2724

     2.3      Icon Owner Pool 1 West/Southwest, LLC,                                    business lease - approx. balance $2.5 million
              c/o GLP US Management LLC
              2 N Riverside Plz Ste 2350
              Chicago, IL 60606-2617

     2.4      Lakha Properties- SAN DIEGO, LLC                                          10 year business lease - approx. balance $2.7 million
              c/o Premier Centers Management,
              500 108th Ave NE Ste 2050
              Bellevue, WA 98004-5568

     2.5      Mar, Limited Liability Company                                            business lease - approx. balance on 10 year lease $2.5
              c/o Mar Investments                                                       million
              331 N Atlantic Blvd Ste 200
              Monterey Park, CA 91754-1500

     2.6      PHR Village LLC a California limited par                                  business lease- approx. balance on 10 year lease $6
              12230 El Camino Real Ste 140                                              million
              San Diego, CA 92130-2090

     2.7      United Leasing                                                            business equipment lease - approx. balance $2 milion
              3700 E Morgan Ave
              Evansville, IN 47715-2240



Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19        Entered 07/18/19 13:18:48                    Doc 1   Pg. 42 of 81

 Debtor 1       Manqueros, Kenneth Christopher & Manqueros,
 Debtor 2       Kara Kristen                                                                 Case number (if known)



            Additional Page if You Have More Contracts or Leases

         Person or company with whom you have the contract or lease               State what the contract or lease is for
                        Name, Number, Street, City, State and ZIP Code

   2.8      Western Equipment Finance-                                              business equipment lease - approx. balance $1.5 million
            PO Box 640
            Devils Lake, ND 58301-0640




Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                         Filed 07/18/19         Entered 07/18/19 13:18:48             Doc 1      Pg. 43 of 81

              Fill in this information to identify your case:

 Debtor 1                   Kenneth Christopher Manqueros
                            First Name                           Middle Name        Last Name

 Debtor 2                   Kara Kristen Manqueros
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
      Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         GLP US Management LLC                                                                  Schedule D, line
                7887 E Belleview Ave Ste 325                                                           Schedule E/F, line
                Englewood, CO 80111-6065                                                              Schedule G     2.8
                                                                                                      Icon Owner Pool 1 West/Southwest, LLC,



    3.2         Jpmcb Auto                                                                             Schedule D, line
                PO Box 901003                                                                          Schedule E/F, line
                Ft Worth, TX 76101-2003                                                               Schedule G    2.1
                                                                                                      Chase Card Services



    3.3         Premier Centers Management                                                             Schedule D, line
                PO Box 52668                                                                           Schedule E/F, line
                Bellevue, WA 98015-2668                                                               Schedule G     2.7
                                                                                                      Lakha Properties- SAN DIEGO, LLC




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
             Case 19-04236-LA7                    Filed 07/18/19       Entered 07/18/19 13:18:48                     Doc 1           Pg. 44 of 81



Fill in this information to identify your case:

Debtor 1                      Kenneth Christopher Manqueros

Debtor 2                      Kara Kristen Manqueros
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA, SAN
                                              DIEGO DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $               0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $        0.00




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
            Case 19-04236-LA7              Filed 07/18/19            Entered 07/18/19 13:18:48                          Doc 1       Pg. 45 of 81


Debtor 1
Debtor 2     Manqueros, Kenneth Christopher & Manqueros, Kara Kristen                               Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
      5e.    Insurance                                                                       5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
      5g.    Union dues                                                                      5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $      15,000.00        $        1,400.00
      8b. Interest and dividends                                                             8b.        $           0.00        $            0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
      8e.    Social Security                                                                 8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          15,000.00        $         1,400.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            15,000.00 + $       1,400.00 = $           16,400.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $      16,400.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
     Yes. Explain: debtors lone contract expires 7-31-19. He is optimistic about retaining an additional contract, but
                              it will likley be for much less income




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
        Case 19-04236-LA7                    Filed 07/18/19                 Entered 07/18/19 13:18:48                       Doc 1     Pg. 46 of 81



Fill in this information to identify your case:

Debtor 1              Kenneth Christopher Manqueros                                                          Check if this is:
                                                                                                              An amended filing
Debtor 2              Kara Kristen Manqueros                                                                  A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA, SAN                                       MM / DD / YYYY
                                          DIEGO DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Son                                  18              Yes
                                                                                                                                         No
                                                                                   Son                                  15              Yes
                                                                                                                                         No
                                                                                   Daughter                             7               Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           5,800.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                          150.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                          185.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00


Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
       Case 19-04236-LA7                     Filed 07/18/19               Entered 07/18/19 13:18:48                         Doc 1         Pg. 47 of 81


Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
Debtor 2     Kristen                                                                                   Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                 6a.   $                               300.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               200.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                 6c.   $                               200.00
      6d. Other. Specify: trash                                                                              6d.   $                               100.00
             cell phones                                                                                           $                               300.00
7.    Food and housekeeping supplies                                                            7.                 $                             1,500.00
8.    Childcare and children’  s education costs                                                8.                 $                               150.00
9.    Clothing, laundry, and dry cleaning                                                       9.                 $                               300.00
10.   Personal care products and services                                                      10.                 $                               250.00
11.   Medical and dental expenses                                                              11.                 $                             1,000.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               250.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                               900.00
      15b. Health insurance                                                                   15b. $                                             1,500.00
      15c. Vehicle insurance                                                                  15c. $                                               333.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                 0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify: non dischargeable taxes                                            17c. $                                               500.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’   s, or renter’
                                              s insurance                                     20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’    s association or condominium dues                                    20e. $                                                 0.00
21.   Other: Specify:     incidentals                                                          21. +$                                              250.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                    14,668.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                    14,668.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                             16,400.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                            14,668.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               1,732.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
             Case 19-04236-LA7               Filed 07/18/19       Entered 07/18/19 13:18:48                    Doc 1         Pg. 48 of 81




      Fill in this information to identify your case:

Debtor 1                    Kenneth Christopher Manqueros
                            First Name             Middle Name             Last Name

Debtor 2                    Kara Kristen Manqueros
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Kenneth Christopher Manqueros                                 X   /s/ Kara Kristen Manqueros
             Kenneth Christopher Manqueros                                     Kara Kristen Manqueros
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       July 18, 2019                                          Date    July 18, 2019
              Case 19-04236-LA7                          Filed 07/18/19                    Entered 07/18/19 13:18:48                                 Doc 1       Pg. 49 of 81

              Fill in this information to identify your case:

 Debtor 1                   Kenneth Christopher Manqueros
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Kara Kristen Manqueros
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $          1,175,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              52,679.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $          1,227,679.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $          1,101,990.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $              23,738.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $          3,027,274.00


                                                                                                                                     Your total liabilities $                4,153,002.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $              16,400.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $              14,668.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19         Entered 07/18/19 13:18:48                     Doc 1       Pg. 50 of 81
 Debtor 1     Manqueros, Kenneth Christopher &
 Debtor 2     Manqueros, Kara Kristen                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $            23,738.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                  $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                            $             23,738.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                    Filed 07/18/19             Entered 07/18/19 13:18:48                      Doc 1       Pg. 51 of 81




            Fill in this information to identify your case:

 Debtor 1                 Kenneth Christopher Manqueros
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Kara Kristen Manqueros
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until             Wages, commissions,                        $97,776.00          Wages, commissions,                   $10,854.00
 the date you filed for bankruptcy:              bonuses, tips                                                   bonuses, tips

                                                 Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19             Entered 07/18/19 13:18:48                      Doc 1       Pg. 52 of 81

 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                                     Case number (if known)


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

 For last calendar year:                          Wages, commissions,                       $173,946.00          Wages, commissions,                $12,500.00
 (January 1 to December 31, 2018 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                         Operating a business
 For the calendar year before that:               Wages, commissions,                       $133,583.00          Wages, commissions,                $12,500.00
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                         Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’
                         s or Debtor 2’
                                      s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                                    incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                     No.         Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19             Entered 07/18/19 13:18:48                      Doc 1       Pg. 53 of 81

 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                                     Case number (if known)


       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe
       Father                                                co debtors father                  $600.00                 $0.00
                                                             repaid approx.
                                                             $600 in last 12
                                                             months


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                            Nature of the case           Court or agency                          Status of the case
       Case number
       Michael Do; Adam Loew; Stephen                        Breach of                    Superior Court of                         Pending
       Loew; CFG Carmel Valley LLC v                         Contract                     California                                  On appeal
       Capital Fitness Group, LLC et al                                                   330 W Broadway
                                                                                                                                      Concluded
       37-2017-00040886-CU-FR-CTL                                                         San Diego, CA 92101-3825

       Paul Latchford v. Capital Fitness                     breach of                    Superior Court of                         Pending
       Group, LLC et al                                      contract                     California                                  On appeal
       37-2018-0000465-CU-BC-CTL                                                          330 W Broadway
                                                                                                                                      Concluded
                                                                                          San Diego, CA 92101-3825

       Proxima 701 LLC v CFG                                 breach of                    Superior Court of                         Pending
       Downtown, LLC et al                                   contract                     California                                  On appeal
       37-2017-00040720-CU-BC-CTL                                                         330 W Broadway
                                                                                                                                      Concluded
                                                                                          San Diego, CA 92101-3825

       Donald Mackay v Capital Fitness                       settlement                   USDC Middle District of                     Pending
       Group LLC et al                                                                    Florida                                     On appeal
       8:18:cv-631-T-30MAP                                                                                                          Concluded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                             Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19               Entered 07/18/19 13:18:48                     Doc 1         Pg. 54 of 81

 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                                      Case number (if known)


       Creditor Name and Address                               Describe the Property                                         Date                     Value of the
                                                                                                                                                         property
                                                               Explain what happened
       EDD                                                     garnished wages and levied bank accounts                                              $19,000.00
                                                               of approx. $19,000 in last 12 months.
                                                               funds returned after demonstratingit was
                                                               not the debtors debt

                                                                Property was repossessed.
                                                                Property was foreclosed.
                                                                Property was garnished.
                                                               Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                               Describe the action the creditor took                         Date action was              Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                 Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                      Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your        Value of property
       how the loss occurred                                                                                                 loss                             lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19              Entered 07/18/19 13:18:48                      Doc 1       Pg. 55 of 81

 Debtor 1      Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2      Kristen                                                                                     Case number (if known)


      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       The Bankruptcy Professionals                                 $2901 (filing fee $335, credit report fee                                          $2,901.00
       10755 Scripps Poway Pkwy # 370                               $66, legal fees $2500) required
       San Diego, CA 92131-3924                                     counseling fees paid direct to provider


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or            Amount of
       Address                                                      transferred                                              transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
       Address                                                      property transferred                       payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you
       other owners/partners                                        sold interest in Cokerbutte
                                                                    LLC for gross amount of
                                                                    $100,000 ($85k paid, $15k
                                                                    still due contingent on
                                                                    success of company)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was        Last balance before
       Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5

Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                      Filed 07/18/19               Entered 07/18/19 13:18:48                        Doc 1        Pg. 56 of 81

 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                                         Case number (if known)


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                               Who else had access to it?                 Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State                                             have it?
                                                                   and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                    Who else has or had access                 Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)          to it?                                                                           have it?
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6

Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                       Filed 07/18/19            Entered 07/18/19 13:18:48                      Doc 1       Pg. 57 of 81

 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                                     Case number (if known)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                  Court or agency                        Nature of the case                      Status of the
       Case Number                                                 Name                                                                           case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business               Employer Identification number
       Address                                                                                                 Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
       Coker Butte, LLC                                      Single purpose entity that owns a                 EIN:         XX-XXXXXXX
       PO Box 2150                                           parcel of land
       Del Mar, CA 92014-1450                                                                                  From-To      2005 to present, but debtor sold
                                                             Lee Covell                                                     interest in 2018

       Kara Manqueros Photography                            photography                                       EIN:
       operated from home
                                                                                                               From-To

       Capital Fitness Group LLC                             Holding Company and Manager                       EIN:         XX-XXXXXXX
       7439 Jackson Dr                                       for multiple gym locations
       San Diego, CA 92119-2318                                                                                From-To      December 2013 to 2017
                                                             Allan Youngberg

       Ultimate Fitness Group LLC                            Parent Company and Manager for                    EIN:         XX-XXXXXXX
       7439 Jackson Dr                                       multiple gym locations
       San Diego, CA 92119-2318                                                                                From-To      12-2013 to 2017
                                                             Allan Youngberg

       Trucalma                                              Health and Wellness Company                       EIN:         83-141274
       117 Hollybrook Ct
       Henderson, NV 89074-0695                              none                                              From-To      8-6-2018 to Present

       Happy and Fine                                        Health and Wellness                               EIN:         none
       117 Hollybrook Ct
       Henderson, NV 89074-0695                              none                                              From-To      August 2018 to Present

       ASK Consultants LLC                                   Sales Consulting                                  EIN:         none
       10340 Brookhollow Cir
       Highlands Ranch, CO 80129-1800                        none                                              From-To      May 2018 to Present

       K2 Ventures Inc                                       Real Estate Consulting                            EIN:         XX-XXXXXXX
       14566 Via Bergamo
       San Diego, CA 92127-3829                              Allan Youngberg                                   From-To      2009 to 2017

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7

Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                        Filed 07/18/19            Entered 07/18/19 13:18:48                      Doc 1     Pg. 58 of 81

 Debtor 1      Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2      Kristen                                                                                     Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Wells Fargo and SLS                                   financial provided for home
                                                              mortgage loan modification


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Kenneth Christopher Manqueros                                      /s/ Kara Kristen Manqueros
 Kenneth Christopher Manqueros                                          Kara Kristen Manqueros
 Signature of Debtor 1                                                  Signature of Debtor 2

 Date      July 18, 2019                                                Date      July 18, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 8

Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                    Filed 07/18/19             Entered 07/18/19 13:18:48                    Doc 1           Pg. 59 of 81


              Fill in this information to identify your case:

 Debtor 1                  Kenneth Christopher Manqueros
                           First Name                       Middle Name                Last Name

 Debtor 2                  Kara Kristen Manqueros
 (Spouse if, filing)       First Name                       Middle Name                Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 Case number
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Specialized Loan Servicing/Sls                      Surrender the property.                                    No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation        Yes
    Description of        14566 Via Bergamo, San Diego,                      Agreement.
    property              CA 92127-3829                                   Retain the property and [explain]:
    securing debt:                                                         Ratain and make regular payments

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                Will the lease be assumed?

 Lessor's name:                Chase Card Services                                                                                No
                                                                                                                                    Yes

 Description of leased         Installment account opened 6/28/2015
 Property:                      Credit Limit: $27,372.00, Remaining Balance: $2,219.00




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                               page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19          Entered 07/18/19 13:18:48                   Doc 1           Pg. 60 of 81


 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                               Case number (if known)



 Lessor's name:              Firestone Financial                                                                              No
                                                                                                                                Yes

 Description of leased       busness equipmen tlease - approx. balance $2 million
 Property:

 Lessor's name:              Icon Owner Pool 1 West/Southwest, LLC,                                                           No
                                                                                                                                Yes

 Description of leased       business lease - approx. balance $2.5 million
 Property:

 Lessor's name:              Lakha Properties- SAN DIEGO, LLC                                                                 No
                                                                                                                                Yes

 Description of leased       10 year business lease - approx. balance $2.7 million
 Property:

 Lessor's name:              Mar, Limited Liability Company                                                                   No
                                                                                                                                Yes

 Description of leased       business lease - approx. balance on 10 year lease $2.5 million
 Property:

 Lessor's name:              PHR Village LLC a California limited par                                                         No
                                                                                                                                Yes

 Description of leased       business lease- approx. balance on 10 year lease $6 million
 Property:

 Lessor's name:              United Leasing                                                                                   No
                                                                                                                                Yes

 Description of leased       business equipment lease - approx. balance $2 milion
 Property:

 Lessor's name:              Western Equipment Finance-                                                                       No
                                                                                                                                Yes

 Description of leased       business equipment lease - approx. balance $1.5 million
 Property:



 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.


Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                   page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
          Case 19-04236-LA7                        Filed 07/18/19          Entered 07/18/19 13:18:48                   Doc 1   Pg. 61 of 81


 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                               Case number (if known)


 X     /s/ Kenneth Christopher Manqueros                                          X /s/ Kara Kristen Manqueros
       Kenneth Christopher Manqueros                                                  Kara Kristen Manqueros
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        July 18, 2019                                                  Date     July 18, 2019




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 3

Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-04236-LA7                    Filed 07/18/19             Entered 07/18/19 13:18:48                       Doc 1         Pg. 62 of 81



 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Kenneth Christopher Manqueros
 Debtor 2
 (Spouse, if filing)
                       Kara Kristen Manqueros                                                         1. There is no presumption of abuse
                                                                                                       2. The calculation to determine if a presumption of abuse
                                                  Southern District of California, San
 United States Bankruptcy Court for the:                                                                     applies will be made underChapter 7 Means Test
                                                  Diego Division
                                                                                                             Calculation (Official Form 122A-2).
 Case number                                                                                           3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                                 $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                                 $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                                 $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                        Copy here -> $                          $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $               Copy here -> $                          $
                                                                                                        $                        $
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                      Filed 07/18/19             Entered 07/18/19 13:18:48                          Doc 1    Pg. 63 of 81

 Debtor 1     Manqueros, Kenneth Christopher & Manqueros, Kara
 Debtor 2     Kristen                                                                                   Case number (if known)



                                                                                                    Column A                      Column B
                                                                                                    Debtor 1                      Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                      $                             $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
         For you                                              $
            For your spouse                                           $
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act.                                                             $                                $
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
              .                                                                                  $                                $
                                                                                                    $                             $
                  Total amounts from separate pages, if any.                                    +   $                             $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =    $

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>             $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $


  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                    13.          $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Kenneth Christopher Manqueros                                       X /s/ Kara Kristen Manqueros
                Kenneth Christopher Manqueros                                             Kara Kristen Manqueros
                Signature of Debtor 1                                                     Signature of Debtor 2
        Date July 18, 2019                                                          Date July 18, 2019
             MM / DD / YYYY                                                              MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 2
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-04236-LA7                       Filed 07/18/19           Entered 07/18/19 13:18:48                 Doc 1        Pg. 64 of 81



 Fill in this information to identify your case:

 Debtor 1           Kenneth Christopher Manqueros

 Debtor 2           Kara Kristen Manqueros
 (Spouse, if filing)

                                                  Southern District of California, San
 United States Bankruptcy Court for the:          Diego Division
                                                                                                  Check if this is an amended filing
 Case number
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                       12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:       Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
     family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 1).

       No.      Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                 supplement with the signed Form 122A-1.
        Yes.    Go to Part 2.


 Part 2:       Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
        No.     Go to line 3.
        Yes.    Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
              No.       Go to line 3.
              Yes.      Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                         this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
        No. Complete Form 122A-1. Do not submit this supplement.
        Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Check any one of the following categories that applies:
                                                                                                 If you checked one of the categories to the left, go to Form
                        I was called to active duty after September 11, 2001, for at least 90   122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         days and remain on active duty.                                         The Means Test does not apply now, and sign Part 3. Then
                                                                                                 submit this supplement with the signed Form 122A-1. You
                        I was called to active duty after September 11, 2001, for at least 90   are not required to fill out the rest of Official Form 122A-1
                         days and was released from active duty on                     , which   during the exclusion period. Theexclusion period means the
                         is fewer than 540 days before I file this bankruptcy case.              time you are on active duty or are performing a homeland
                                                                                                 defense activity, and for 540 days afterward. 11 U.S.C. §
                        I am performing a homeland defense activity for at least 90 days.       707(b)(2)(D)(ii).
                        I performed a homeland defense activity for at least 90 days,
                                                                                                 If your exclusion period ends before your case is closed, you
                         ending on                  , which is fewer than 540 days before I
                                                                                                 may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                      page 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-04236-LA7                      Filed 07/18/19      Entered 07/18/19 13:18:48                   Doc 1        Pg. 65 of 81

B2030 (Form 2030) (12/15)
                                                            United States Bankruptcy Court
                                                    Southern District of California, San Diego Division
 In re       Manqueros, Kenneth Christopher & Manqueros, Kara Kristen                                        Case No.
                                                             Debtor(s)                                       Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    2,500.00
             Prior to the filing of this statement I have received                                       $                    2,500.00
             Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Those services as specifically set forth in paragraphs I and II of United States Bankruptcy Court Southern
                 District of California Rights and Responsibilities of Chapter 7 Debtors and Their Attorney are to be provided to
                 the debtor(s) herein.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Those services as set forth in paragraph III of United States Bankruptcy Court Southern District of California
               Rights and Responsibilities of Chapter 7 Debtors and Their Attorney or any other services not specifically set
               forth in paragraphs I and I therein.
                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 18, 2019                                                           /s/ Ronald E. Stadtmueller
     Date                                                                    Ronald E. Stadtmueller
                                                                             Signature of Attorney
                                                                             The Bankruptcy Professionals

                                                                             10755 Scripps Poway Pkwy # 370
                                                                             San Diego, CA 92131-3924
                                                                             (858) 564-9310
                                                                             ronstadtmueller@aol.com
                                                                             Name of law firm




Software Copyright (c) 2019 CINGroup - www.cincompass.com
                                                                          Case 19-04236-LA7           Filed 07/18/19        Entered 07/18/19 13:18:48              Doc 1   Pg. 66 of 81

                                                                                                              United States Bankruptcy Court
                                                                                                      Southern District of California, San Diego Division

                                                                   IN RE:                                                                                     Case No.
                                                                   Manqueros, Kenneth Christopher & Manqueros, Kara Kristen                                   Chapter 7
                                                                                                          Debtor(s)

                                                                                                         VERIFICATION OF CREDITOR MATRIX
                                                                   PART I (check and complete one):

                                                                        New petition filed. Creditor diskette required.                                  TOTAL NO. OF CREDITORS:                66

                                                                        Conversion filed on                    . See instructions on reverse side.

                                                                            Former Chapter 13 converting. Creditor diskette required.                    TOTAL NO. OF CREDITORS:
                                                                            Post-petition creditors added. Scannable matrix required.
                                                                            There are no post-petition creditors. No matrix required.

                                                                        Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts
                                                                        and/or Schedule of Equity Security Holders. See instructions on reverse side.
© 2019 CINgroup 1.866.218.1003 – CINcompass (www.cincompass.com)




                                                                            Name and addresses are being ADDED.
                                                                            Name and addresses are being DELETED.
                                                                            Name and addresses are being CORRECTED.

                                                                   PART II (check one)

                                                                        The above-name Debtor(s) hereby verifies that the attached list of creditors is true and correct to the best of my (our)
                                                                        knowledge.

                                                                        The above-name Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion
                                                                        of this case and that the filing of a matrix is not required.



                                                                   Date: July 18, 2019                   /s/ Kenneth Christopher Manqueros
                                                                                                                                                     Debtor


                                                                                                         /s/ Kara Kristen Manqueros
                                                                                                                                                Joint Debtor
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 67 of 81




      Amex
      Correspondence/Bankruptcy
      PO Box 981540
      El Paso, TX 79998-1540


      Amex
      PO Box 981537
      El Paso, TX 79998-1537


      Anthony Knight
      10340 Brookhollow Cir
      Highlands Ranch, CO 80129-1800


      Arroyo Crossroads Center I, LLC
      c/o REMARC Management
      24800 Chrisanta Dr Ste 130
      Mission Viejo, CA 92691-4834


      Assly Sayyar, Attorney At Law
      2348 Foothill Dr
      Vista, CA 92084-5807


      Barbara Gentzkow
      5858 Saratoga Corte # 8616
      Rancho Santa Fe, CA 92067-9555


      Big Bear Supermarket #3
      c/o Golden Eagle Management
      2775 Via de la Valle Ste 200
      Del Mar, CA 92014-1920
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 68 of 81




      Bryan and Sharon Faith Trust
      PO Box 3467
      Rancho Santa Fe, CA 92067-3467


      Cal Pacific Investments, LP
      131 E Main St Ste 202
      El Cajon, CA 92020-3976


      California Business Bu
      1711 S Mountain Ave
      Monrovia, CA 91016-4256


      Capital One
      Attn: Bankruptcy
      PO Box 30285
      Salt Lake City, UT       84130-0285


      Capital One Bank USA N
      PO Box 30281
      Salt Lake City, UT 84130-0281


      Chase Auto Finance
      PO Box 901076
      Ft Worth, TX 76101-2076


      Chase Card Services
      Attn: Bankruptcy
      PO Box 15298
      Wilmington, DE 19850-5298
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 69 of 81




      Creditors Collection S
      Roanoke, VA 24018


      Crunch Franchising LLC
      Attn: Mike Blouin
      1 Harbour Pl # 320
      Portsmouth, NH 03801-3873


      CT Corporation
      PO Box 4349
      Carol Stream, IL      60197-4349


      Diversified Consultant
      10550 Deerwood Park Blvd
      Jacksonville, FL 32256-0596


      Donald Mackay
      c/o Morgan & Morgan, PA
      515 N Flagler Dr Ste 2125
      West Palm Beach, FL 33401-4337


      EDD/ State of California
      Taxpayer Assistance Center
      PO Box 826880
      Sacramento, CA 94280-0001


      Firestone Financial
      117 Kendrick St
      Needham, MA 02494-2724
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 70 of 81




      Frazee Mission    Valley Properties, LTD
      Attn: Nicholas    Frazee
      1005 Rosecrans    St Ste 202
      San Diego, CA     92106-3007


      Frazee Oceanside Properties
      c/o Frazee Enterprises, Attn: Nick Fraze
      1005 Rosecrans St Ste 202
      San Diego, CA 92106-3007


      GLP US Management LLC
      7887 E Belleview Ave Ste 325
      Englewood, CO 80111-6065


      Golden Eagle Real Estate Investment LP
      c/o Golden Eagle Management
      2775 Via de la Valle Ste 200
      Del Mar, CA 92014-1920


      Icon Owner Pool 1 West/Southwest, LLC,
      c/o GLP US Management LLC
      2 N Riverside Plz Ste 2350
      Chicago, IL 60606-2617


      Internal Revenue Service
      Central Insolvency Dept.
      PO Box 21126
      Philadelphia, PA 19114-0326
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 71 of 81




      Jennifer Levine
      PO Box 90
      Rancho Santa Fe, CA       92067-0090


      Josephine Manqueros
      2071 W Elberon St
      Rancho Palos Verdes, CA         90275-1307


      Jpmcb Auto
      PO Box 901003
      Ft Worth, TX 76101-2003


      Kalon Construction & Rafael Martinez
      5545 Woodruff Ave # 105
      Lakewood, CA 90713-1534


      Lakha Properties- SAN DIEGO, LLC
      c/o Premier Centers Management,
      500 108th Ave NE Ste 2050
      Bellevue, WA 98004-5568


      Lisa Rehrer
      14788 Valle del Sur Ct
      San Diego, CA 92127-3726


      Lvnv Funding LLC
      Greenville, SC 29601
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 72 of 81




      Mar, Limited Liability Company
      c/o Mar Investments
      331 N Atlantic Blvd Ste 200
      Monterey Park, CA 91754-1500


      Marc W. thomas Esq.
      2552 Walnut Ave Ste 100
      Tustin, CA 92780-6984


      Marview Holdings
      201 S Rios Ave
      Solana Beach, CA      92075-1903


      Merchants Credit Guide
      223 W Jackson Blvd
      Chicago, IL 60606-6908


      Michael Do, Adam Loew & Stephen Loew
      c/o Frederic G. Ludwig, III
      12463 Rancho Bernardo Rd # 532
      San Diego, CA 92128-2143


      Michael Galloway
      14788 Valle del Sur Ct
      San Diego, CA 92127-3726


      Nordstrom FSB
      ATTN: Bankruptcy
      PO Box 6555
      Englewood, CO 80155-6555
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 73 of 81




      Nordstrom/Td Bank USA
      13531 E Caley Ave
      Englewood, CO 80111-6504


      Omninet Serra Mesa LP
      9420 Wilshire Blvd Ste 400
      Beverly Hills, CA 90212-3151


      Paul Latchford
      c/o Miltner & Meneck, APC
      402 W Broadway Ste 800
      San Diego, CA 92101-8506


      PHR Village LLC a California limited par
      12230 El Camino Real Ste 140
      San Diego, CA 92130-2090


      Premier Centers Management
      PO Box 52668
      Bellevue, WA 98015-2668


      PROXIMA 701, LLC
      c/o Aleen Matkins Leck Gamble Mallory &
      600 W Broadway Fl 27
      San Diego, CA 92101-3311


      Robert James Shippee
      15383 Lake Rd 2
      Gardner, KS 66030
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 74 of 81




      RSR Holdings, LLC
      610 W Ash St Ste 1503
      San Diego, CA 92101-3350


      Sally and Gordon Rycroft
      8941 Rivers Edge Dr
      Las Vegas, NV 89117-5425


      Scudi and Ayers LLP
      5440 Morehouse Dr Ste 4400
      San Diego, CA 92121-6723


      Signature Analytics
      1501 Quail St Ste 100
      Newport Beach, CA 92660-2797


      Specialized Loan Servi
      8742 Lucent Blvd
      Highlands Ranch, CO 80129-2302


      Specialized Loan     Servicing/Sls
      Attn: Bankruptcy     Dept
      8742 Lucent Blvd     Ste 300
      Highlands Ranch,     CO 80129-2386


      SVAP II OCEANSIDE TC, LLC
      340 Royal Poinciana Way Ste 316
      Palm Beach, FL 33480-4096
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 75 of 81




      Tom Stannard
      1580 Union St Unit 203
      San Diego, CA 92101-3058


      UFC Gym Franchising
      1501 Quail St Ste 100
      Newport Beach, CA 92660-2797


      United Leasing
      3700 E Morgan Ave
      Evansville, IN 47715-2240


      US Bank
      Attn: Bankruptcy
      PO Box 5229
      Cincinnati, OH 45201-5229


      US Bank
      Oshkosh, WI     54901


      US Bank/Rms Cc
      Attn: Bankruptcy
      PO Box 5229
      Cincinnati, OH 45201-5229


      US Bk Rms Cc
      Saint Louis, MO      63101
Case 19-04236-LA7   Filed 07/18/19   Entered 07/18/19 13:18:48   Doc 1   Pg. 76 of 81




      Waxie Sanitary Supply
      PO Box 23506
      San Diego, CA 92193-3506


      Wells Fargo Advantage
      Attn: Bankruptcy
      PO Box 10438
      Des Moines, IA 50306-0438


      Western Equipment Finance-
      PO Box 640
      Devils Lake, ND 58301-0640


      Wf Bank NA
      PO Box 14517
      Des Moines, IA      50306-3517
                                                                            Case 19-04236-LA7            Filed 07/18/19        Entered 07/18/19 13:18:48      Doc 1       Pg. 77 of 81

                                                                                                                United States Bankruptcy Court
                                                                                                        Southern District of California, San Diego Division

                                                                   IN RE:                                                                                Case No.
                                                                   Manqueros, Kenneth Christopher & Manqueros, Kara Kristen                              Chapter 7
                                                                                                            Debtor(s)

                                                                                                              BUSINESS INCOME AND EXPENSES
                                                                   FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                   operation.)

                                                                   PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                     1. Gross Income For 12 Months Prior to Filing:                                      $

                                                                   PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                     2. Gross Monthly Income:                                                                                   $   22,000.00

                                                                   PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                     3.   Net Employee Payroll (Other Than Debtor)                                       $
© 2019 CINgroup 1.866.218.1003 – CINcompass (www.cincompass.com)




                                                                     4.   Payroll Taxes                                                                  $           5,300.00
                                                                     5.   Unemployment Taxes                                                             $
                                                                     6.   Worker’s Compensation                                                          $
                                                                     7.   Other Taxes                                                                    $
                                                                     8.   Inventory Purchases (Including raw materials)                                  $
                                                                     9.   Purchase of Feed/Fertilizer/Seed/Spray                                         $
                                                                    10.   Rent (Other than debtor’s principal residence)                                 $
                                                                    11.   Utilities                                                                      $
                                                                    12.   Office Expenses and Supplies                                                   $
                                                                    13.   Repairs and Maintenance                                                        $
                                                                    14.   Vehicle Expenses                                                               $
                                                                    15.   Travel and Entertainment                                                       $            300.00
                                                                    16.   Equipment Rental and Leases                                                    $
                                                                    17.   Legal/Accounting/Other Professional Fees                                       $
                                                                    18.   Insurance                                                                      $
                                                                    19.   Employee Benefits (e.g., pension, medical, etc.)                               $
                                                                    20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                          Business Debts (Specify):                                                      $




                                                                    21. Other (Specify):                                                                 $




                                                                    22. Total Monthly Expenses (Add items 3-21)                                                                 $    5,600.00

                                                                   PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                    23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                               $   16,400.00
       Case 19-04236-LA7             Filed 07/18/19         Entered 07/18/19 13:18:48               Doc 1       Pg. 78 of 81




Revised: 01/24/13
Name, Address, Telephone No. & I.D. No.
Ronald E. Stadtmueller 140720
The Bankruptcy Professionals
10755 Scripps Poway Pkwy # 370
San Diego, CA 92131-3924
(858) 564-9310


            United States Bankruptcy Court
  Southern District of California, San Diego Division
    325 West “
             F”Street, San Diego, California 92101-6991
In Re                                                              BANKRUPTCY NO.
Manqueros, Kenneth Christopher & Manqueros, Kara
Kristen
                                               Debtor.
Last four digits of Soc.Sec. or 5103 5732
Individual-Taxpayer I.D.(ITIN)/Complete EIN:


                                 UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
                         RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                       AND THEIR ATTORNEY

       In order for debtors and their attorneys to understand their rights and responsibilities in the
       bankruptcy process, the following terms of engagement are hereby agreed to by the parties.

       Nothing in this agreement should be construed to excuse an attorney from any ethical duties or
       responsibilities under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy
       Rules.
                                                                I.
                                          Services Included in the Initial Fee Charged

       The following are services that an attorney must provide as part of the initial fee charged for
       representation in a Chapter 7 case:

       1.       Meet with the debtor to review the debtor's assets, liabilities, income and expenses.

       2.       Analyze the debtor's financial situation, and render advice to the debtor in determining
                whether to file a petition in bankruptcy.

       3.       Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the
                debtor regarding the advisability of filing either a Chapter 7, 11 or 13 case, and answer the
                debtor's questions.

       4.       Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and
                instruct the debtor as to the date, time and place of the meeting.

       5.       Advise the debtor of the necessity of maintaining liability, collision and comprehensive
                insurance on vehicles securing loans or leases.
Case 19-04236-LA7            Filed 07/18/19         Entered 07/18/19 13:18:48               Doc 1      Pg. 79 of 81




6.       Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of
         Financial Affairs, and any necessary amendments to Schedule C.

7.       Provide documents pursuant to the Trustee Guidelines and any other information
         requested by the Chapter 7 Trustee or the Office of the United States Trustee.

8.       Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and
         their Attorneys to the debtor.

9.       Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any
         continued meeting, except as further set out in Section II.

10.      File the Certificate of Debtor Education if completed by the debtor and provided to the
         attorney before the case is closed.

11.      Attorney shall have a continuing obligation to assist the debtor by returning telephone
         calls, answering questions and reviewing and sending correspondence.

12.      Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in
         Schedule C.

                                                       II.
                             Services Included as Part of Chapter 7 Representation,
                                          Subject to an Additional Fee

The following are services, included as part of the representation of the debtor, for which the
attorney may charge additional fees:

1.       Representation at any continued meeting of creditors due to client's failure to appear or
         failure to provide required documents or acceptable identification;

2.       Amendments, except that no fee shall be charged for any amendment to Schedule C that
         may be required as a result of attorney error;

3.       Opposing Motions for Relief from Stay;

4.       Reaffirmation Agreements and hearings on Reaffirmation Agreements;

5.       Redemption Motions and hearings on Redemption Motions;

6.       Preparing, filing, or objecting to Proof of Claims, when appropriate, and if applicable;

7.       Representation in a Motion to Dismiss or Convert debtor's case;

8.       Motions to Reinstate or Extend the Automatic Stay;

9.       Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or
         asset administration issues.




                                                      2
Case 19-04236-LA7             Filed 07/18/19        Entered 07/18/19 13:18:48              Doc 1       Pg. 80 of 81




                                                     III.
                   Additional Services Not Included in the Initial Fee Which Will Require a
                                           Separate Fee Agreement

The following services are not included as part of the representation in a Chapter 7 case, unless
the attorney and debtor negotiate representation in these post-filing matters at mutually agreed
upon terms in advance of any obligation of the attorney to render services. Unless a new fee
agreement is negotiated between debtor and attorney, attorney will not be required to represent
the debtor in these matters:

1.       Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint
         to Determine Dischargeability of Debt;

2.       Defense of a Complaint objecting to discharge;

3.       Objections to Claim of Exemption, except where an objection arises due to an error on
         Schedule C;

4.       Sheriff levy releases;

5.       Section 522(f) Lien Avoidance Motions;

6.       Opposing a request for, or appearing at a 2004 examination;

7.       All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real
         or other Property;

8.       Motions or other proceedings to enforce the automatic stay or discharge injunction;

9.       Filing or responding to an appeal;

10.      An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C.
         Section 586(f).

                                                      IV.
                                     Duties and Responsibilities of the Debtor

As the debtor filing for a Chapter 7 bankruptcy, you must:
1.       Fully disclose everything you own, lease, or otherwise believe you have a right or interest
         in prior to filing the case;

2.       List everyone to whom you owe money, including your friends, relatives or someone you
         want to repay after the bankruptcy is filed;

3.       Provide accurate and complete financial information;

4.       Provide all requested information and documentation in a timely manner, in accordance
         with the Chapter 7 Trustee Guidelines;

5.       Cooperate and communicate with your attorney;




                                                     3
Case 19-04236-LA7             Filed 07/18/19          Entered 07/18/19 13:18:48             Doc 1      Pg. 81 of 81




 6.      Discuss the objectives of the case with your attorney before you file;

 7.      Keep the attorney updated with any changes in contact information, including email
         address;

 8.      Keep the attorney updated on any and all collection activities by any creditor, including
         lawsuits, judgments, garnishments, levies and executions on debtor's property;

 9.      Keep the attorney updated on any changes in the household income and expenses;

 10.     Timely file all statutorily required tax returns;

 11.     Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;

 12.     Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of
         Creditors;

 13.     Bring proof of social security number and government issued photo identification to the
         Section 341(a) Meeting of Creditors;

 14.     Provide date-of-filing bank statements to the attorney no later than 7 days after filing of
         your case;

 15.     Pay all required fees prior to the filing of the case;

 16.     Promptly pay all required fees in the event post filing fees are incurred;

 17.     Debtor must not direct, compel or demand their attorney to take a legal position or
         oppose a motion in violation of any Ethical Rule, any Rule of Professional Conduct, or
         Federal Rule that is not well grounded in fact or law.


Dated: July 18, 2019                         /s/ Kenneth Christopher Manqueros
                                             Debtor

Dated: July 18, 2019                          /s/ Kara Kristen Manqueros
                                              Debtor

Dated: July 18, 2019                         /s/ Ronald E. Stadtmueller
                                             Attorney for Debtor(s)




                                                        4
